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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------------------------X
EFRAIN RESCALVO VAZQUEZ, on                           :
behalf of himself and all other persons
similarly situated,                                   :

                                   Plaintiff,       :

                          -against-                 :               ORDER

WALLY’S DELI & GROCERY CORP.                        :         19-CV-6797 (RA) (KNF)
AND DERHIM NASSER,
                                                    :
                                    Defendants.
-----------------------------------------------------X
KEVIN NATHANIEL FOX
UNITED STATES MAGISTRATE JUDGE


        On September 8, 2020, the Court directed the: (a) plaintiff to serve and file his inquest

submissions and file proof of service on or before September 22, 2020; and (b) defendants to

serve and file any opposition to the plaintiff’s inquest submissions on or before October 6, 2020.

Docket Entry No. 35. On September 22, 2020, the plaintiff filed his inquest submissions, Docket

Entry Nos. 36-38, and a letter by his counsel stating that “we arranged for service on defendants.

However, we have not yet received the affidavits of service from our process server,” and “[a]s

soon as we receive them from the process server, we will promptly file them.” Docket Entry No.

39. On October 9, 2020, the Court noted that no proof of service had been filed or request for an

extension of time to file proof of service had been made on that date and provided a final

opportunity to the plaintiff to file proof of service on or before October 16, 2020. Docket Entry

No. 40. On October 16, 2020, the plaintiff filed three affidavits of service, each indicating that

service of the inquest submissions was effected on October 15, 2020, after the date on which the

defendants’ opposition to the inquest submissions was due. Docket Entry Nos. 41-43.



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       On or before October 26, 2020, the plaintiff shall: (1) serve a copy of this order on the

defendants in the manner indicated in the Court’s September 8, 2020 order; and (2) file proof of

service. The defendants shall serve and file any opposition to the plaintiff’s inquest submissions

no later than 14 days after they have been served with the inquest submissions.

Dated: New York, New York
       October 19, 2020                                             SO ORDERED:




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